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                                         COUNSEL FOR CLO HOLDCO LTD



                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

 In re:                                                                §            Case No. 18-30264-SGJ-11
                                                                       §            Case No. 18-30265-SGJ-11
 ACIS CAPITAL MANAGEMENT, L.P.,                                        §
 ACIS CAPITAL MANAGEMENT GP,                                           §            (Jointly Administered Under Case
 LLC,                                                                  §            No. 18-30264-SGJ-11)
                                                                       §
           Debtors.                                                    §            Chapter 11

 ACIS CAPITAL MANAGEMENT, L.P.,                                        §
 ACIS CAPITAL MANAGEMENT GP,                                           §
 LLC, Reorganized Debtors,                                             §            Adversary No. 20-03060-SGJ
                                                                       §

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         Plaintiffs,                                       §
                                                           §
 vs.                                                       §
                                                           §
 JAMES DONDERO, FRANK                                      §
 WATERHOUSE, SCOTT ELLINGTON,                              §
 HUNTER COVITZ, ISAAC LEVENTON,                            §
 JEAN PAUL SEVILLA, THOMAS                                 §
 SURGENT, GRANT SCOTT, HEATHER                             §
 BESTWICK, WILLIAM SCOTT, AND                              §
 CLO HOLDCO, LTD.,                                         §
                                                           §
         Defendants.

                                     JOINT DISCOVERY PLAN

        Plaintiffs Acis Capital Management, L.P. and Acis Capital Management GP, Defendant

Grant Scott, Defendant CLO HoldCo, LTD, and Defendant James Dondero file this Joint

Discovery Plan pursuant to Rule 7026 of the Federal Rules of Bankruptcy Procedure and as

required by this Court’s February 17, 2022 Order. Dkt. # 73. The parties to this conference are the

only remaining parties in this Adversary Proceeding.

                                I.       Rule 7026 Conference and Trial

        The parties conducted a Rule 7026 conference on February 24, 2022, via phone. Counsel

for each party was present. This case is set for docket call on April 10, 2023.

                                                II.   Settlement

        The parties conferred and considered the possibility of a prompt settlement of this case,

after first discussing the nature and basis of their claims and defenses. The parties agreed that early

settlement is not likely at this time.

                                         III.     Initial Disclosures

        The parties’ initial disclosures are to be exchanged by March 17, 2022.


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                           IV.    Preserving Discoverable Information

       At this time, the parties do not foresee any issues related to the preservation of discoverable

information.

                                   V.    Proposed Discovery Plan

       A. Changes to Rule 26(a) Disclosure Requirements

       The parties have agreed and the Court has ordered exchange of initial disclosures by March

17, 2022.

       Except for the timing of disclosures, above, the parties have further agreed not to alter the

form and requirements for disclosures under Federal Rule of Civil Procedure 26(a).

       B. Discovery Subjects, Deadlines, and Phases

       Plaintiffs will conduct discovery on (a) their live claims against Defendants, (b) Plaintiffs’

damages, (c) any matters that relate to Plaintiffs’ live claims and damages. Defendants will conduct

discovery on Plaintiffs’ claims and alleged damages and Defendants’ defenses to same. Discovery

does not need to be conducted in phases. The deadlines for discovery, both fact and expert, will

follow the Court’s Order on February 17, 2022.

       C. Disclosure, Discovery, and Preservation of Electronically Stored Information

       The parties agree that electronically stored information, if any, may be discovered

and produced in accordance with the Federal Rules of Civil Procedure. The parties will

meet and confer to reach an agreement on a detailed protocol, including the format that

such ESI will be produced, as necessary.

       D. Privilege Issues




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       The parties are not currently aware of any issues relating to claims of privilege or

protection as trial-preparation material. The parties will submit an agreed protective order

as the parties believe the disclosure of confidential information is necessary in this case.

       The parties agree that the production of privileged or work-product protected

documents, ESI, or other information, whether inadvertent or otherwise, is not a waiver of

the privilege or protection from discovery in this case or in any other federal or state

proceeding. The parties agree that this statement should be interpreted to provide the

maximum protection allowed by Federal Rule of Evidence 502(d). The parties further

agree that nothing contained in this discovery plan is intended to or shall serve to limit a

party’s right to conduct a review of documents, ESI or information (including metadata)

for relevance, responsiveness, and/or segregation of privileged and/or protected

information before production.

       E. Changes to Limitations on Discovery

       None at this time.

       F. Other Schedules the Court Should Issue

       The parties are not currently aware of any other orders that should be entered by this

Court under Rules 16(b) or 16(c). To the extent the parties’ opinions on this issue change as

discovery and the litigation proceeds, the parties will confer and notify the Court.

       Additionally, the parties have agreed under Rule 26(c) to enter into a protective order that

will be submitted for Court approval.




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                                                            Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

        I certify that on March 1, 2022, notice of this document will be electronically mailed to the
parties that are registered or otherwise entitled to receive electronic notices in this adversary
proceeding pursuant to the Electronic Filing Procedures in this District.

                                               /s/ Alex Hernandez
                                               Alex Hernandez




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